       Case 4:09-cr-00022-MFU                   Document 129 Filed 03/23/15             Page 1 of 1           Pageid#:
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%AO 247(02/08) OrderRegardi
                          ngMotionforSentenceReduction
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                                U NITED STATES D ISTRICT C OURT                                         ATDAFr
                                                                                                            sv lfl-E.vA .
                                                                                                             uuo
                                                           forthe
                                                  WesternDistrictOfVirginia                             @A2 27 225
                                                                                                     J LIA    D   L           '
                                                                                                    BY:           $ '        )
                 United StatesofAmerica                                                                 oEp       cus    ,
                             V.
             DANIEL RODRIQUEZ MARTIN                           CaseNo: 4:09cr00022-002
                                                               USM No:14039-084
Date ofPreviousJudgment:            03/09/2010
(UseDateofLastAmendedJudgmentifApplicable)                     Defendant'sAtt
                                                                            onwy

                 OrderRegardingM otion forSentenceReductionPursuantto 18U.S.C.j3582($(2)
        Uponmotionof Z ,thedefendantU.
                                     1theDirectoroftheBureauofPrisonsL-1thecourtunder18U.S.C.
93582(($(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been loweredand made retroactiveby theUnited StatesSentencing Com mission pursuantto 28U.S.C.
j994(u),andhavingconsidered suchmotion,
IT IS ORDEQED thatthemotion is:
        Z DENIED. N GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                          thelastjudgmentissued)of                           m onthsisreduced to                             .
1. COURT DETERM INATION OF GUIDELINE M NGE (PriortoAnyDepartures)
PreviousOffenseLevel:                     Amended OffenseLevel:
CriminalHistory Category:                 CriminalHistory Category:
PreviousGuidelineRange:    to     m onths Amended GuidelineRange:                                            to     months
lI. SENTENCE RELATW E TO AM ENDED GUIDELINE M NG E
I-lThereducedsentenceiswithinthenmendedguidelinerange.
U1Theprevioustennofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofadeparture orRule35reduction,and thereduced sentenceiscom parably lessthanthe
   am ended guidelinerange.
C1Other(explain):



111. ADDITIONAL CO M M ENTS
     Because Defendantwas sentencedto the m inim um period ofincarceration perm i
                                                                                tted bystatute,no further
     reductioni
              sauthorized.Defendant'sMoti
                                        ontoAppointCounsel(ECFNo.126)isDENIED.


Exceptasprovidedabove,allprovisionsofthejudgmentdated 03/09/2010 shallremainineffect.
IT IS SO ORDERE .
                                                                    N.
OrderD ate:                                                              '
                                                                         x                      d
                                                                                     Judge'ssignature

EffectiveDate:                                                       Hon.Jackson L.Kiser,Seni orU.S.DistrictJudge
                  (ifdifferentfrom orderdate)                                     Printednameandtitle
